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 15

 16                       UNITED STATES DISTRICT COURT
 17                      CENTRAL DISTRICT OF CALIFORNIA
 18
        DECKERS OUTDOOR
 19     CORPORATION, a Delaware               Case No.: 2:21-cv-04521-JWH-KK[
        Corporation,
 20
                         Plaintiff,            STIPULATED PROTECTIVE
 21                                            ORDER
                    v.
 22     KIMERA INTERNATIONAL, a
        California Corporation; KUO-HSIN
 23     YANG, an individual; EVA GREEN
        USA LLC, a California Limited
 24     Liability Company; SHIEKH
        SHOES, LLC, a California Limited
 25     Liability Company; and DOES 1-10,
        inclusive,
 26

 27                      Defendants.
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  1   1.    PURPOSES AND LIMITATIONS
  2         Discovery in this action is likely to involve production of confidential,
  3   proprietary, or private information for which special protection from public
  4   disclosure and from use for any purpose other than prosecuting this litigation may
  5   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  6   enter the following Stipulated Protective Order. The parties acknowledge that this
  7   Order does not confer blanket protections on all disclosures or responses to
  8   discovery and that the protection it affords from public disclosure and use extends
  9   only to the limited information or items that are entitled to confidential treatment
 10   under the applicable legal principles. The parties further acknowledge, as set forth in
 11   Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 12   file confidential information under seal; Civil Local Rule 79-5 sets forth the
 13   procedures that must be followed and the standards that will be applied when a party
 14   seeks permission from the court to file material under seal.
 15         A.     GOOD CAUSE STATEMENT
 16         In its Complaint, Plaintiff asserts causes of action against Defendant for trade
 17   dress infringement under the Lanham Act, unfair competition and related claims
 18   under state statutory and common law, and patent infringement. This action is likely
 19   to involve trade secrets, customer and pricing lists and other valuable research,
 20   development, commercial, financial, technical and/or proprietary information for
 21   which special protection from public disclosure and from use for any purpose other
 22   than prosecution of this action is warranted. Such confidential and proprietary
 23   materials and information consist of, among other things, confidential business or
 24   financial information, information regarding confidential business practices, or other
 25   confidential research, development, or commercial information (including
 26   information implicating privacy rights of third parties), information otherwise
 27   generally unavailable to the public, or which may be privileged or otherwise
 28   protected from disclosure under state or federal statutes, court rules, case decisions,
                                                 2
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  1   or common law. Accordingly, to expedite the flow of information, to facilitate the
  2   prompt resolution of disputes over confidentiality of discovery materials, to
  3   adequately protect information the parties are entitled to keep confidential, to ensure
  4   that the parties are permitted reasonable necessary uses of such material in
  5   preparation for and in the conduct of trial, to address their handling at the end of the
  6   litigation, and serve the ends of justice, a protective order for such information is
  7   justified in this matter. It is the intent of the parties that information will not be
  8   designated as confidential for tactical reasons and that nothing be so designated
  9   without a good faith belief that it has been maintained in a confidential, non-public
 10   manner, and there is good cause why it should not be part of the public record of this
 11   case.
 12   2.      DEFINITIONS
 13           2.1   Action: this pending lawsuit Deckers Outdoor Corporation v. Kimera
 14   International; et al., C.D. Cal. 2:21-cv-04521-CAS (KKx).
 15           2.2   Challenging Party: a Party or Non-Party that challenges the
 16   designation of information or items under this Order.
 17           2.3   “CONFIDENTIAL” or “CONFIDENTIAL – AEO” Information or
 18   Items: information (regardless of how it is generated, stored or maintained) or
 19   tangible things that qualify for protection under Federal Rule of Civil Procedure
 20   26(c), and as specified above in the Good Cause Statement; AEO is short for
 21   Attorneys Eyes Only.
 22           2.4   Counsel: Outside Counsel of Record and House Counsel (as well as
 23   their support staff).
 24           2.5   Designating Party: a Party or Non-Party that designates information or
 25   items that it produces in disclosures or in responses to discovery as
 26   “CONFIDENTIAL” or “CONFIDENTIAL – AEO.”
 27           2.6   Disclosure or Discovery Material: all items or information, regardless
 28   of the medium or manner in which it is generated, stored, or maintained (including,
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  1   among other things, testimony, transcripts, and tangible things) that are produced or
  2   generated in disclosures or responses to discovery in this matter.
  3         2.7    Expert: a person with specialized knowledge or experience in a matter
  4   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  5   an expert witness or as a consultant in this Action.
  6         2.8    House Counsel: attorneys who are employees of a party to this Action.
  7   House Counsel does not include Outside Counsel of Record or any other outside
  8   counsel.
  9         2.9    Non-Party: any natural person, partnership, corporation, association or
 10   other legal entity not named as a Party to this action.
 11         2.10 Outside Counsel of Record: attorneys who are not employees of a
 12   party to this Action but are retained to represent or advise a party to this Action and
 13   have appeared in this Action on behalf of that party or are affiliated with a law firm
 14   that has appeared on behalf of that party, and includes support staff.
 15         2.11 Party: any party to this Action, including all of its officers, directors,
 16   employees, consultants, retained experts, and Outside Counsel of Record (and their
 17   support staffs).
 18         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 19   Discovery Material in this Action.
 20         2.13 Professional Vendors: persons or entities that provide litigation
 21   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 22   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 23   and their employees and subcontractors.
 24         2.14 Protected Material: any Disclosure or Discovery Material that is
 25   designated as “CONFIDENTIAL – AEO” or “CONFIDENTIAL.”
 26         2.15 Receiving Party: a Party that receives Disclosure or Discovery
 27   Material from a Producing Party.
 28   3.    SCOPE
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  1         The protections conferred by this Stipulation and Order cover not only
  2   Protected Material (as defined above), but also (1) any information copied or
  3   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  4   compilations of Protected Material; and (3) any testimony, conversations, or
  5   presentations by Parties or their Counsel that might reveal Protected Material.
  6         Any use of Protected Material at trial shall be governed by the orders of the
  7   trial judge. This Order does not govern the use of Protected Material at trial.
  8   4.    DURATION
  9         Even after final disposition of this litigation, the confidentiality obligations
 10   imposed by this Order shall remain in effect until a Designating Party agrees
 11   otherwise in writing or a court order otherwise directs. Final disposition shall be
 12   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 13   or without prejudice; and (2) final judgment herein after the completion and
 14   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 15   including the time limits for filing any motions or applications for extension of time
 16   pursuant to applicable law.
 17   5.    DESIGNATING PROTECTED MATERIAL
 18         5.1    Exercise of Restraint and Care in Designating Material for Protection.
 19   Each Party or Non-Party that designates information or items for protection under
 20   this Order must take care to limit any such designation to specific material that
 21   qualifies under the appropriate standards. The Designating Party must designate for
 22   protection only those parts of material, documents, items or oral or written
 23   communications that qualify so that other portions of the material, documents, items
 24   or communications for which protection is not warranted are not swept unjustifiably
 25   within the ambit of this Order.
 26         Mass, indiscriminate or routinized designations are prohibited. Designations
 27   that are shown to be clearly unjustified or that have been made for an improper
 28   purpose (e.g., to unnecessarily encumber the case development process or to impose
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  1   unnecessary expenses and burdens on other parties) may expose the Designating
  2   Party to sanctions.
  3         If it comes to a Designating Party’s attention that information or items that it
  4   designated for protection do not qualify for protection, that Designating Party must
  5   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  6         5.2      Manner and Timing of Designations. Except as otherwise provided in
  7   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  8   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  9   under this Order must be clearly so designated before the material is disclosed or
 10   produced.
 11         Designation in conformity with this Order requires:
 12               (a) for information in documentary form (e.g., paper or electronic
 13   documents, but excluding transcripts of depositions or other pretrial or trial
 14   proceedings), that the Producing Party affix at a minimum, the legend
 15   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 16   contains protected material. If only a portion of the material on a page qualifies for
 17   protection, the Producing Party also must clearly identify the protected portion(s)
 18   (e.g., by making appropriate markings in the margins).
 19         A Party or Non-Party that makes original documents available for inspection
 20   need not designate them for protection until after the inspecting Party has indicated
 21   which documents it would like copied and produced. During the inspection and
 22   before the designation, all of the material made available for inspection shall be
 23   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 24   documents it wants copied and produced, the Producing Party must determine which
 25   documents, or portions thereof, qualify for protection under this Order. Then,
 26   before producing the specified documents, the Producing Party must affix the
 27   “CONFIDENTIAL or CONFIDENTIAL - AEO legend” to each page that contains
 28   Protected Material. If only a portion of the material on a page qualifies for
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  1   protection, the Producing Party also must clearly identify the protected portion(s)
  2   (e.g., by making appropriate markings in the margins).
  3               (b) for testimony given in depositions that the Designating Party identifies
  4   the Disclosure or Discovery Material on the record, before the close of the
  5   deposition all protected testimony.
  6               (c) for information produced in some form other than documentary and
  7   for any other tangible items, that the Producing Party affix in a prominent place on
  8   the exterior of the container or containers in which the information is stored the
  9   legend “CONFIDENTIAL – AEO” or “CONFIDENTIAL.” If only a portion or
 10   portions of the information warrants protection, the Producing Party, to the extent
 11   practicable, shall identify the protected portion(s).
 12         5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
 13   failure to designate qualified information or items does not, standing alone, waive
 14   the Designating Party’s right to secure protection under this Order for such material.
 15   Upon timely correction of a designation, the Receiving Party must make reasonable
 16   efforts to assure that the material is treated in accordance with the provisions of this
 17   Order.
 18   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 19         6.1      Timing of Challenges. Any Party or Non-Party may challenge a
 20   designation of confidentiality at any time that is consistent with the Court’s
 21   Scheduling Order.
 22         6.2      Meet and Confer. The Challenging Party shall initiate the dispute
 23   resolution process under Local Rule 37.1 et seq.
 24         6.3      The burden of persuasion in any such challenge proceeding shall be on
 25   the Designating Party. Frivolous challenges, and those made for an improper
 26   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 27   parties) may expose the Challenging Party to sanctions. Unless the Designating
 28   Party has waived or withdrawn the confidentiality designation, all parties shall
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  1   continue to afford the material in question the level of protection to which it is
  2   entitled under the Producing Party’s designation until the Court rules on the
  3   challenge.
  4   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  5         7.1      Basic Principles. A Receiving Party may use Protected Material that is
  6   disclosed or produced by another Party or by a Non-Party in connection with this
  7   Action only for prosecuting, defending or attempting to settle this Action. Such
  8   Protected Material may be disclosed only to the categories of persons and under the
  9   conditions described in this Order. When the Action has been terminated, a
 10   Receiving Party must comply with the provisions of section 13 below (FINAL
 11   DISPOSITION).
 12         Protected Material must be stored and maintained by a Receiving Party at a
 13   location and in a secure manner that ensures that access is limited to the persons
 14   authorized under this Order.
 15         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
 16   otherwise ordered by the court or permitted in writing by the Designating Party, a
 17   Receiving Party may disclose any information or item designated
 18   “CONFIDENTIAL” or “CONFIDENTIAL – AEO” only to:
 19               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 20   well as employees of said Outside Counsel of Record to whom it is reasonably
 21   necessary to disclose the information for this Action;
 22               (b) the officers, directors, and employees (including House Counsel) of
 23   the Receiving Party to whom disclosure is reasonably necessary for this Action; for
 24   CONFIDENTIAL – AEO designated information or item, only House Counsel can
 25   have access;
 26               (c) Experts (as defined in this Order) of the Receiving Party to whom
 27   disclosure is reasonably necessary for this Action and who have signed the
 28   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                 8
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  1             (d) the court and its personnel;
  2             (e) court reporters and their staff;
  3             (f) professional jury or trial consultants, mock jurors, and Professional
  4   Vendors to whom disclosure is reasonably necessary for this Action and who have
  5   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  6             (g) the author or recipient of a document containing the information or a
  7   custodian or other person who otherwise possessed or knew the information;
  8             (h) during their depositions, witnesses, and attorneys for witnesses, in the
  9   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 10   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
 11   will not be permitted to keep any confidential information unless they sign the
 12   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 13   agreed by the Designating Party or ordered by the court. Pages of transcribed
 14   deposition testimony or exhibits to depositions that reveal Protected Material may
 15   be separately bound by the court reporter and may not be disclosed to anyone except
 16   as permitted under this Stipulated Protective Order; and
 17             (i) any mediator or settlement officer, and their supporting personnel,
 18   mutually agreed upon by any of the parties engaged in settlement discussions.
 19   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 20         IN OTHER LITIGATION
 21         If a Party is served with a subpoena or a court order issued in other litigation
 22   that compels disclosure of any information or items designated in this Action as
 23   “CONFIDENTIAL,” that Party must:
 24             (a) promptly notify in writing the Designating Party. Such notification
 25   shall include a copy of the subpoena or court order;
 26             (b) promptly notify in writing the party who caused the subpoena or order
 27   to issue in the other litigation that some or all of the material covered by the
 28   subpoena or order is subject to this Protective Order. Such notification shall include
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  1   a copy of this Stipulated Protective Order; and
  2             (c) cooperate with respect to all reasonable procedures sought to be
  3   pursued by the Designating Party whose Protected Material may be affected.
  4         If the Designating Party timely seeks a protective order, the Party served with
  5   the subpoena or court order shall not produce any information designated in this
  6   action as “CONFIDENTIAL” before a determination by the court from which the
  7   subpoena or order issued, unless the Party has obtained the Designating Party’s
  8   permission. The Designating Party shall bear the burden and expense of seeking
  9   protection in that court of its confidential material and nothing in these provisions
 10   should be construed as authorizing or encouraging a Receiving Party in this Action
 11   to disobey a lawful directive from another court.
 12   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 13         PRODUCED IN THIS LITIGATION
 14             (a) The terms of this Order are applicable to information produced by a
 15   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 16   produced by Non-Parties in connection with this litigation is protected by the
 17   remedies and relief provided by this Order. Nothing in these provisions should be
 18   construed as prohibiting a Non-Party from seeking additional protections.
 19             (b) In the event that a Party is required, by a valid discovery request, to
 20   produce a Non-Party’s confidential information in its possession, and the Party is
 21   subject to an agreement with the Non-Party not to produce the Non-Party’s
 22   confidential information, then the Party shall:
 23                (1) promptly notify in writing the Requesting Party and the Non-Party
 24   that some or all of the information requested is subject to a confidentiality
 25   agreement with a Non-Party;
 26                (2) promptly provide the Non-Party with a copy of the Stipulated
 27   Protective Order in this Action, the relevant discovery request(s), and a reasonably
 28   specific description of the information requested; and
                                                10
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  1                (3) make the information requested available for inspection by the
  2   Non-Party, if requested.
  3             (c) If the Non-Party fails to seek a protective order from this court within
  4   14 days of receiving the notice and accompanying information, the Receiving Party
  5   may produce the Non-Party’s confidential information responsive to the discovery
  6   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  7   not produce any information in its possession or control that is subject to the
  8   confidentiality agreement with the Non-Party before a determination by the court.
  9   Absent a court order to the contrary, the Non-Party shall bear the burden and
 10   expense of seeking protection in this court of its Protected Material.
 11   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 13   Protected Material to any person or in any circumstance not authorized under this
 14   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 15   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 16   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 17   persons to whom unauthorized disclosures were made of all the terms of this Order,
 18   and (d) request such person or persons to execute the “Acknowledgment and
 19   Agreement to Be Bound” that is attached hereto as Exhibit A.
 20   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 21         PROTECTED MATERIAL
 22         When a Producing Party gives notice to Receiving Parties that certain
 23   inadvertently produced material is subject to a claim of privilege or other protection,
 24   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 25   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
 26   procedure may be established in an e-discovery order that provides for production
 27   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
 28   (e), insofar as the parties reach an agreement on the effect of disclosure of a
                                                11
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  1   communication or information covered by the attorney-client privilege or work
  2   product protection, the parties may incorporate their agreement in the stipulated
  3   protective order submitted to the court.
  4   12.   MISCELLANEOUS
  5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  6   person to seek its modification by the Court in the future.
  7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  8   Protective Order, no Party waives any right it otherwise would have to object to
  9   disclosing or producing any information or item on any ground not addressed in this
 10   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 11   ground to use in evidence of any of the material covered by this Protective Order.
 12         12.3 Filing Protected Material. A Party that seeks to file under seal any
 13   Protected Material must comply with Local Civil Rule 79-5. Protected Material
 14   may only be filed under seal pursuant to a court order authorizing the sealing of the
 15   specific Protected Material at issue. If a Party’s request to file Protected Material
 16   under seal is denied by the court, then the Receiving Party may file the information
 17   in the public record unless otherwise instructed by the court.
 18   13.   FINAL DISPOSITION
 19         After the final disposition of this Action, as defined in paragraph 4, within 60
 20   days of a written request by the Designating Party, each Receiving Party must return
 21   all Protected Material to the Producing Party or destroy such material. As used in
 22   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 23   summaries, and any other format reproducing or capturing any of the Protected
 24   Material. Whether the Protected Material is returned or destroyed, the Receiving
 25   Party must submit a written certification to the Producing Party (and, if not the same
 26   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
 27   (by category, where appropriate) all the Protected Material that was returned or
 28   destroyed and (2) affirms that the Receiving Party has not retained any copies,
                                                 12
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  1   abstracts, compilations, summaries or any other format reproducing or capturing any
  2   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  3   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  4   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  5   reports, attorney work product, and consultant and expert work product, even if such
  6   materials contain Protected Material. Any such archival copies that contain or
  7   constitute Protected Material remain subject to this Protective Order as set forth in
  8   Section 4 (DURATION).
  9

 10   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 11

 12   DATED 10/15/2021_______________
 13

 14   /s/ Jamie Fountain__________________
      Brent H. Blakely
 15   Jamie Fountain
      BLAKELY LAW GROUP
 16   Attorneys for Plaintiff
 17

 18
      DATED: 10/15/2021_______________
 19

 20
      /s/ Jen-Feng Lee_________________
 21   Jen-Feng Lee
      Kenneth K. Tanji, Jr.
 22   LT Pacific Law Group, LLP
      Attorneys for Defendant
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  1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  2

  3   DATED: October 18, 2021
  4

  5   _____________________________________
      HON. Kenly Kiya Kato
  6   United States Magistrate Judge
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  1                                         EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4   I, _____________________________ [print or type full name], of
  5   _________________ [print or type full address], declare under penalty of perjury
  6   that I have read in its entirety and understand the Stipulated Protective Order that
  7   was issued by the United States District Court for the Central District of California
  8   on ____________ in the case of Deckers Outdoor Corporation v. Kimera
  9   International; et al., C.D. Cal. 2:21-cv-04521-CAS (KKx). I agree to comply with
 10   and to be bound by all the terms of this Stipulated Protective Order and I understand
 11   and acknowledge that failure to so comply could expose me to sanctions and
 12   punishment in the nature of contempt. I solemnly promise that I will not disclose in
 13   any manner any information or item that is subject to this Stipulated Protective
 14   Order to any person or entity except in strict compliance with the provisions of this
 15   Order.
 16   I further agree to submit to the jurisdiction of the United States District Court for the
 17   Central District of California for enforcing the terms of this Stipulated Protective
 18   Order, even if such enforcement proceedings occur after termination of this action.
 19   I hereby appoint __________________________ [print or type full name] of
 20   _______________________________________ [print or type full address and
 21   telephone number] as my California agent for service of process in connection with
 22   this action or any proceedings related to enforcement of this Stipulated Protective
 23   Order.
 24   //
 25   //
 26   //
 27   //
 28   //
                                                 15
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  1   Date: ______________________________________
  2   City and State where sworn and signed: _________________________________
  3

  4   Printed name: _______________________________
  5   Signature: __________________________________
  6

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